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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS



SPORT HELMETS INC.,

                 Plaintiff,

            v.                                      Civil Action No. 10-cv-10179

WARRIOR SPORTS, INC.,

                 Defendant.



                         STIPULATED DISMISSAL WITH PREJUDICE
                                  UNDER FRCP 41(a)(1)

                 The parties to this action, by their respective counsel, hereby stipulate that this

action, including all claims and counterclaims asserted therein, be and is hereby dismissed, each

party to bear its own costs and attorney fees.



SPORT HELMETS INC.                                              WARRIOR SPORTS, INC.



/s/ John L. Welch                                               /s/ R. David Hosp
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Dated: August 20, 2010




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